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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
 ANSLY DAMUS, et al., on behalf of                )
 themselves and others similarly situated,        )
                                                  )
                Plaintiffs,                       )
                                                  )    Civil Action No. 1:18-cv-00578 (JEB)
                v.                                )
                                                  )
 KIRSTJEN NIELSEN, Secretary of the               )
 Department of Homeland Security, in her          )
 official capacity, et al.,                       )
                                                  )
                Defendants.                       )
                                                  )


PLAINTIFFS’ MOTION FOR LIMITED DISCOVERY REGARDING COMPLIANCE
WITH THE PRELIMINARY INJUNCTION, OR, ALTERNATIVELY, FOR AN ORDER
 TO SHOW CAUSE WHY DEFENDANTS SHOULD NOT BE HELD IN CONTEMPT



       In past years, the five U.S. Immigration and Customs Enforcement (“ICE”) Field Offices

in this case released 92% of asylum seekers pursuant to the Parole Directive’s requirement that,

absent exceptional circumstances, ICE release asylum seekers who are not flight risks or dangers

to the community. During the first eight months of the Trump Administration, the release rate

had dropped to zero in three of the Field Offices and less than 4% in the five Field Offices

collectively. In July, this Court held that the dramatic drop in the parole-grant rate and other

evidence reflected that Defendants were violating the Parole Directive, and granted a preliminary

injunction enjoining those violations.

       Despite the Court’s preliminary injunction, it appears that Defendants continue to violate

the Parole Directive. Data provided by Defendants to the Court on August 24 reflects that,

during the first six weeks after the preliminary injunction issued, the ICE Field Offices have
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granted parole to only 25% of asylum seekers — dramatically less than the 92% grant rate in

prior years. Testimony of legal practitioners handling parole cases in the jurisdictions covered

by the Field Offices confirms that the situation has not fundamentally changed since the Court

entered the preliminary injunction: Defendants still are denying parole to individuals who are

not flight risks or dangers to the community, and who would have been granted parole in earlier

years. Defendants also are continuing to violate procedural requirements of the Parole Directive,

including, for example, the requirement that a parole interview be conducted no later than seven

days following a finding that an asylum seeker has a credible fear.

       Defendants, meanwhile, have offered no explanation that could account for the fact that

more than 90% of asylum seekers were granted parole under the Parole Directive in prior years,

while only 25% are now being granted parole pursuant to the very same Directive. The Parole

Directive does not mandate that any particular percentage of parole requests be granted, but the

seismic shift in parole-grant rates from just a few years ago demands explanation and Defendants

have offered none.

       The evidence before the Court is sufficient to support a finding that Defendants are in

contempt of the preliminary injunction. At this stage, however, Plaintiffs seek only limited

discovery relevant to that determination. The discovery Plaintiffs seek pertains solely to whether

Defendants are complying with the preliminary injunction and is thus appropriate at this stage of

the proceedings. Courts regularly grant such compliance discovery to monitor compliance with

their orders and the Court should do so here given the substantial evidence that Defendants are in

contempt.




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                                        BACKGROUND

       A.      The Preliminary Injunction

       On July 2, 2018, this Court granted a class-wide preliminary injunction, enjoining

Defendants to follow the requirements of ICE Directive No. 11002.1, Parole of Arriving Aliens

Found to Have a Credible Fear of Persecution or Torture (Dec. 8, 2009) (the “Parole Directive”).

Damus v. Nielsen, 313 F. Supp. 3d 317, 343 (D.D.C. 2018); Order, Damus v. Nielsen, 1:18-cv-

00578-JEB (D.D.C. July 2, 2018) (ECF No. 33) (“PI Order”). The Court concluded that

Plaintiffs were likely to succeed on their claim that Defendants were no longer following the

Parole Directive in five ICE field offices (the “ICE Field Offices”); that Plaintiffs were suffering

irreparable harm through their detention; and that Plaintiffs had satisfied the remaining

requirements for a preliminary injunction. See Damus, 313 F. Supp. 3d at 339-42.

       The Court’s preliminary injunction order provided that:

   •   Defendants may not deny “parole to any provisional class members absent an

       individualized determination, through the parole process, that such provisional class

       member presents a flight risk or a danger to the community”;

   •   “The individualized determinations . . . shall be based on the specific facts of each

       provisional class member’s case” and not “categorical criteria applicable to all

       provisional class members”; and

   •   “Defendants shall provide provisional class members with parole determinations that

       conform to all of the substantive and procedural requirements of [the Parole Directive].”

PI Order, ¶¶ 3-5.

       In implementing the preliminary injunction, this Court ordered that Defendants provide

new parole advisals, parole interviews, and parole determinations to all class members by August

24, 2018. The Court also ordered Defendants to submit a report on that date providing data on
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the outcome of the new parole determinations. See Minute Order, Damus v. Nielsen, 1:18-cv-

00578-JEB (D.D.C. July 24, 2018).

         B.     The Evidence Suggests That Defendants Are Not Complying with the
                Preliminary Injunction.

         Defendants’ data reports on parole determinations conducted after the preliminary

injunction was issued strongly suggest that Defendants still are not following the Parole

Directive. See Sealed Document, Damus v. Nielsen, 1:18-cv-00578-JEB (D.D.C. Aug. 24, 2018)

(ECF No. 40). Across the five ICE Field Offices, Defendants granted only approximately 25%

of parole determinations ― as compared to roughly 92% in earlier years. See id.; Daher Decl. ¶

9 (ECF No. 17-10). Nearly all of the parole denials since the preliminary injunction was entered

have been based on purported “flight risk,” with no further explanation — suggesting that

Defendants continue to invoke “flight risk” as a pretext for denying parole in cases where no

bona fide individualized parole reviews have been conducted. See Sealed Document (ECF No.

40). More specifically:

     •    In the Detroit Field Office, only 19% of parole determinations were granted, and every

          denial was based on purported “flight risk.”

     •    In the El Paso Field Office, only 27% of parole determinations were granted, and all but

          5 of 208 determinations were based on purported “flight risk.”

     •    In the Los Angeles Field Office, only 17% of parole determinations were granted, and

          every denial was based on purported “flight risk.”

     •    In the Newark Field Office, 42% of parole determinations were granted (in a relatively

          small sample), and every denial was based on purported “flight risk.”

     •    In the Philadelphia Field Office, only 18% of parole determinations were granted, and

          all denials but one were based on purported “flight risk.”

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See id.

          These parole grant rates are all vastly lower than the approximately 92% parole-grant rate

in the same ICE Field Offices just a few years ago, when the same Parole Directive was in effect.

Defendants have provided no explanation for the much lower parole grant rates today. They

have never, for example, suggested that asylum seekers today are more likely to flee than they

were a few years ago, nor have they suggested some other material change in the population of

individuals seeking asylum.

          Testimony of legal practitioners in the Field Office jurisdictions supports the conclusion

that Defendants still are not complying with the Parole Directive. First, ICE is apparently

continuing to ignore the substantive standard for parole. That standard provides that, absent

exceptional circumstances, ICE should parole an asylum seeker in the public interest where she

establishes her identity to the satisfaction of ICE and proves that she is neither a flight risk nor a

danger to the community. See Parole Directive ¶ 6.2; PI Order ¶ 3. Yet many asylum seekers

who have done so continue to be denied parole as purported “flight risks.” See Ex. 1,

Declaration of Elizabeth Ford (“Ford Decl.”) ¶ 4; Ex. 2, Supplemental Declaration of Carlos

Spector (“Suppl. Spector Decl.”) ¶ 7; Ex. 3, Declaration of Elizabeth Hercules-Paez (“Hercules-

Paez Decl.”) ¶ 5; Ex. 4, Declaration of Rafael Reyneri (“Reyneri Decl.”) ¶ 8; Ex. 5, Declaration

of Troy E. Elder (“Elder Decl.”) ¶ 9; Ex. 6, Declaration of Andres Alonso (“Alonso Decl.”) ¶ 7;

Ex. 7, Declaration of Brennan Gian-Grasso (“Gian-Grasso Decl.”) ¶ 9; Ex. 8, Declaration of

Brayan Antonio Guzman Orellana (“Guzman Orellana Decl.”) ¶ 11; Ex. 9, Declaration of Yosiel

Casado Milanes (“Casado Milanes Decl.”) ¶ 9. In fact, many of those denied parole as “flight

risks” since the preliminary injunction issued continue to have stronger relationships with

sponsors in the United States than others who were granted parole before the Trump



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Administration took office. See Ex. 1, Ford Decl. ¶ 5; Ex. 2, Suppl. Spector Decl. ¶¶ 8-9; Ex. 10,

Declaration of Linda Corchado (“Corchado Decl.”) ¶¶ 8.

       In addition, Defendants still are not complying with numerous procedural requirements of

the Parole Directive. For example, the Parole Directive requires that ICE explain the parole

advisal in a language that asylum seekers understand. See Parole Directive ¶¶ 6.1, 8.1.

However, ICE has frequently failed to do so, despite the fact that the large majority of the

plaintiff class is not proficient in English. See Ex. 3, Hercules-Paez Decl. ¶ 6; Ex. 10, Corchado

Decl. ¶¶ 3-5. Nor has ICE explained that detainees are entitled to request a reasonable extension

of time in order to collect evidence in support of their parole application, as the Directive

requires. Compare Parole Directive ¶ 8.2, and Minute Order, Damus v. Nielsen, 1:18-cv-00578-

JEB (D.D.C. July 24, 2018), with Ex. 3, Hercules-Paez Decl. ¶ 6; Ex. 10, Corchado Decl. ¶ 6.

As a result, many asylum seekers are unable to adequately prepare for their parole reviews. See

Ex. 3, Hercules-Paez Decl. ¶ 6.

       The Parole Directive also requires a parole interview no later than seven days following a

finding that an asylum seeker has a credible fear (unless an additional reasonable period of time

is necessary). See Parole Directive ¶ 8.2; see also Minute Order, Damus v. Nielsen, 1:18-cv-

00578-JEB (D.D.C. July 24, 2018) (setting deadlines for parole interviews). However, ICE has

failed to provide an interview in many cases, and the Los Angeles Field Office appears to have

ignored this requirement altogether. See Ex. 8, Guzman Orellana Decl. ¶ 10; Ex. 3, Hercules-

Paez Decl. ¶ 7; Ex. 4, Reyneri Decl. ¶ 6; Ex. 5, Elder Decl. ¶¶ 7-8 (describing statement by

officer of Los Angeles Field Office that declarant’s client would not receive a parole interview,

as “that’s not how it’s done here”). In other cases, ICE provided cursory interviews that lasted

only five-minutes. See Ex. 7, Gian-Grasso Decl. ¶ 7.



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       The Parole Directive further requires that each asylum seeker’s “eligibility for parole

should be considered and analyzed on its own merits and based on the facts of the individual

alien’s case.” Parole Directive ¶ 6.2. However, ICE continues to ignore class members’

evidence that they satisfy the parole criteria, including evidence of their sponsors, community

ties, and other facts demonstrating that they do not pose a flight risk. See Ex. 1, Ford Decl. ¶¶ 3-

5; Ex. 2, Suppl. Spector Decl. ¶¶ 6-8; Ex. 4, Reyneri Decl. ¶¶ 5, 8; Ex. 5, Elder Decl. ¶¶ 4, 9; Ex.

6, Alonso Decl. ¶¶ 6-7, 9; Ex. 7, Gian-Grasso Decl. ¶¶ 6, 9-13; Ex. 8, Guzman Orellana Decl. ¶

9, 11; Ex. 9, Casado Milanes Decl. ¶¶ 8-9.

       Likewise, the Parole Directive requires that ICE provide a “brief explanation of the

reasons for denying parole” when a denial occurs. Parole Directive ¶ 8.2. However, the ICE

Field Offices continue to rely on the same form denial letters they used before the preliminary

injunction issued. See, e.g., Ex. 1, Ford Decl. ¶¶ 4-5, Ex. B; Ex. 2, Suppl. Spector Decl., ¶ 7, Ex.

B; Ex. 3, Hercules-Paez Decl. ¶ 8; Ex. 4, Reyneri Decl. ¶ 8; Ex. 5, Elder Decl. ¶ 9; Ex. 6, Alonso

Decl. ¶ 7; Ex. 7, Gian-Grasso Decl. ¶ 9; Ex. 8, Guzman Orellana Decl. ¶ 11; Ex. 9, Casado

Milanes ¶ 9; Ex. 10, Corchado Decl. ¶ 8. As the Court found in its preliminary injunction

decision, “these summary and often boilerplate records do little to shine light on whether the

Field Offices did, in fact, provide individualized determinations and comply in full with the

Directive.” Damus, 313 F. Supp. 3d at 341. The Directive further requires that ICE provide

“reasonable access to translation or interpreter services” for the parole decision and service of the

parole decision on the asylum seeker’s attorney. Parole Directive ¶ 6.5. Again, ICE is still

failing to satisfy these requirements. See Ex. 3, Hercules-Paez Decl. ¶ 9; Ex. 4, Reyneri Decl. ¶




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7; Ex. 5, Elder Decl. ¶ 9; Ex. 6, Alonso Decl. ¶ 8; Ex. 7, Gian-Grasso Decl. ¶ 8; Ex. 8, Guzman

Orellana Decl. ¶ 11; Ex. 9, Casado Milanes Decl. ¶ 9.1

       C.      Defendants Have Refused to Provide Information Necessary to Assess Their
               Purported Compliance With the Preliminary Injunction.

       Notwithstanding this evidence, Defendants have asserted that they are complying with

the preliminary injunction. To test that assertion, Plaintiffs requested that Defendants provide

limited information concerning their purported compliance. See Ex. 11, Declaration of Philip

Levitz (“Levitz Decl.”) ¶ 3 & Ex. 1. Specifically, Plaintiffs requested:

       •    Parole determination worksheets, case summaries, parole denials themselves, and/or

            other documents reflecting the process and/or bases for parole determinations since

            the preliminary injunction issued, or a statistically valid sample of these documents;

       •    Internal ICE communications, such as emails, memoranda, and training material,

            reflecting the procedures that ICE officers are expected to follow and the standards

            they are expected to apply in making parole determinations; and

       •    Testimony from an official at each of the five ICE Field Offices regarding such

            procedures and standards, and why the parole grants rates after the preliminary

            injunction was entered are so much lower than they were just a few years ago, when

            the very same Parole Directive was in effect.

See id. Defendants have refused to provide this information, leaving Plaintiffs no choice but to

file this motion. See id.2



1
  The Parole Directive also requires that ICE provide written decisions to requests for
reconsideration within seven days, absent reasonable justification for delay. See Parole Directive
¶ 6.6. ICE has failed to do so in several cases. See Ex. 7, Gian-Grasso Decl. ¶ 14; Ex. 10,
Corchado Decl. ¶ 9.
2
  While Defendants’ counsel offered to “discuss” written questions from Plaintiffs regarding
preliminary injunction compliance with their clients, responses to written questions would likely
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                                          ARGUMENT

I.     Targeted Discovery Is Necessary to Assess Whether Defendants Are Complying
       with the Preliminary Injunction.

       Courts have inherent power to grant “limited discovery to aid the court in determining

whether [a defendant] had complied with a judgment,” including a preliminary injunction order.

Cal. Dep’t of Soc. Servs. v. Leavitt, 523 F.3d 1025, 1033 (9th Cir. 2008) (collecting cases); see

also Palmer v. Rice, 231 F.R.D. 21, 25-26 (D.D.C. 2005) (granting discovery where, “without

further discovery, plaintiffs will not be able to determine whether the government has complied

with the court’s injunctions”); Blackberry Ltd. v. Typo Prod. LLC, 2014 WL 4136586, at *5

(N.D. Cal. Aug. 21, 2014) (granting discovery regarding preliminary injunction compliance);

Cardell Fin. Corp. v. Suchodolski Assocs., Inc., 2012 WL 12932049, at *57-58 (S.D.N.Y. July

17, 2012) (collecting additional cases), report and recommendation adopted sub nom. Cardell

Fin. Corp. v. Suchodolksi Assocs., Inc., 896 F. Supp. 2d 320, 329 (S.D.N.Y. 2012).

       The evidence needed to justify discovery for the limited purpose of assessing compliance

is “considerably less than that needed to show actual noncompliance.” Leavitt, 523 F.3d at 1034.

So long as “significant questions regarding noncompliance have been raised, appropriate

discovery should be granted.” Id.; Blackberry Ltd., 2014 WL 4136586, at *2 (discovery

appropriate where movants provided evidence “rais[ing] [a] significant question of whether [the

defendant] has violated the preliminary injunction”); see also Cardell Fin. Corp., 2012 WL


just mirror the conclusory declarations filed by Defendants in connection with earlier preliminary
injunction briefing that this Court declined to credit. See Ex. 11, Levitz Decl. ¶ 3 & Ex. 1;
Damus, 313 F. Supp. 3d at 341. Written responses would be no substitute for contemporaneous
documentation, or live testimony permitting follow-up. See, e.g., D.A. v. Nielsen, 2018 WL
3158819, at *6 (D.N.J. June 28, 2018) (ordering defendants to produce parole determination
worksheets, even where defendants had previously submitted declaration that ICE conducts
individualized review of parole requests, as “Plaintiffs have a legitimate interest in
supplementing DFOD Perez’s representation with the only available documentary evidence of
ICE’s decision making process that preceded the denial of parole to these Plaintiffs”).
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12932049, at *58 (discovery should be granted upon “prima facie showing that a violation has

occurred”).

       The evidence described above easily meets this standard. At a bare minimum, the

dramatic and unexplained drop in the parole grant rate from more than 90% in earlier years to

approximately 25% in the months since the preliminary injunction issued raises “significant

questions” regarding Defendants’ compliance. The sworn testimony cited above by legal

practitioners who have represented clients seeking parole in the jurisdictions covered by the five

ICE Field Offices only magnifies those questions. Accordingly, compliance discovery is

warranted.

       Plaintiffs’ discovery requests are narrowly tailored to the issue of Defendants’

compliance with the preliminary injunction. Plaintiffs seek parole determination documentation

only from the brief period since the preliminary injunction issued in July; documents reflecting

the procedures and standards that the five ICE Field Offices have applied in making parole

determinations since the preliminary injunction issued; and testimony regarding those procedures

and standards and the reasons parole grants rates at the Field Offices have dropped from over

90% in prior years to just 25% today, notwithstanding that the same Parole Directive remains in

effect.3 Because Plaintiffs’ requested discovery is focused narrowly on Defendants’ compliance

with the preliminary injunction, it is irrelevant that a Rule 26(f) discovery conference has not yet

occurred. See, e.g., MACOM Tech. Sols. Holdings, Inc. v. Infineon Tech. AG, No. 2:16-cv-

02859-CAS(PLAx), ECF No. 283 (C.D. Cal. Mar. 17, 2017) (holding that, even prior to Rule




3
 Plaintiffs seek only information relevant to Defendants’ general procedures and standards;
Plaintiffs are not seeking information to challenge the exercise of discretion in any particular
parole determination.
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26(f) conference, “good cause exists for expedited discovery . . . [because] plaintiffs have

demonstrated that defendants may have violated the Court’s injunctions”).

       Accordingly, Plaintiffs’ request for targeted compliance discovery should be granted.

II.    Alternatively, Defendants Should Be Ordered to Show Cause Why They Should Not
       Be Held in Contempt.

       In the alternative, based on the evidence that ICE is not complying with the preliminary

injunction, the Court should order Defendants to show cause why they should not be held in

contempt.

       An order to show-cause should issue if “sufficient evidence exists that the Court might

find evidence sufficient to hold defendant in contempt.” Stewart v. O’Neill, 225 F. Supp. 2d 6,

10 (D.D.C. 2002). “Two elements must be established before a party may be held in civil

contempt.” Id. “First, the Court must have issued an order that is clear and reasonably specific.”

Id. (citing Armstrong v. Exec. Off. of Pres., 1 F.3d 1274, 1289 (D.C. Cir. 1993)). “Second, the

putative contemnor must have violated the Court’s Order.” Id. (citing Armstrong, 1 F.3d at

1289). There is sufficient evidence of both here.

       First, this Court’s preliminary injunction order is “clear and unambiguous.” The order

requires Defendants to provide class members with parole determinations that comply with the

substantive and procedural mandates of the Parole Directive. See PI Order ¶¶ 2-5.

       Second, Plaintiffs have presented ample evidence of Defendants’ failure to comply with

the preliminary injunction. Most significantly, there has been a dramatic drop in parole-grant

rates at the ICE Field Offices — from 92% a few years ago to 25% now — and Defendants have

offered no explanation for the precipitous decline. See Daher Decl. ¶ 9 (ECF No. 17-10); Sealed

Document (ECF No. 40). This Court already held that a “dramatic departure in parole-grant

rates from years past” that is “not . . . explained in any way by Defendants” leads to the


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“reasonable conclusion” that the ICE Field Offices are not following the Parole Directive.

Damus v. Nielsen, 313 F. Supp. 3d 317, 340 (D.D.C. 2018). Indeed, another court in this District

recently held that less dramatic changes in parole grant rates than those at issue here reflect non-

compliance with the Parole Directive. See Aracely R. v. Nielsen, 2018 WL 3243977, at *23, *28

(D.D.C. July 3, 2018) (finding non-compliance with the Parole Directive, based in significant

part on change in parole rate from approximately 35% in 2016 to approximately 9% in 2017 in

one detention center, and from approximately 50% in 2016 to approximately 26% in 2017 in

another detention center). Moreover, here, the statistical evidence of non-compliance is

supported by declarations from practitioners reflecting that ICE is not conducting bona fide

individualized parole reviews; that individuals with similar profiles were granted parole a few

years ago but are being denied parole now; and that ICE is violating a number of the Parole

Directive’s procedural requirements. See supra pp. 5-8. This evidence is more than sufficient to

meet the Stewart standard.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant the limited discovery outlined in this

motion and the attached proposed order, or, alternatively, order that Defendants show cause why

they should not be held in contempt of the preliminary injunction order.




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Dated: September 7, 2018                              Respectfully submitted,

                                                      /s/ Philip J. Levitz

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*
 Although LCvR 83.2(c) and (d) do not apply to Ms. Gault, she appears before the Court
pursuant to LCvR 83.2(g), which states, “ATTORNEYS REPRESENTING INDIGENTS.
Notwithstanding (c) and (d) above, an attorney who is a member in good standing of the District
of Columbia Bar or who is a member in good standing of the bar of any United States Court or of
the highest court of any State may appear, file papers and practice in any case handled without a
fee on behalf of indigents upon filing a certificate that the attorney is providing representation
without compensation.” Ms. Gault is not receiving compensation for her services.
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                                CERTIFICATE OF SERVICE

       I certify that, on September 7, 2018, I electronically transmitted the attached motion and
accompanying exhibits using the CM/ECF system for filing and transmittal of a Notice of
Electronic Filing to all CM/ECF registrants for this case.


Date: September 7, 2018                              Signed:    /s/ Philip J. Levitz
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